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                                                              HEARING DATE: 10/19/21 AT 10:00 A.M.
                                                         OBJECTION DEADLINE: 10/12/21 AT 4:00 P.M.

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 New York, New York 10119
 (212) 594-5000
 Neil Berger
 Minta J. Nester
 Brian F. Shaughnessy

 Attorneys for Albert Togut, Not Individually
 But Solely in His Capacity as Chapter 7 Interim Trustee

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------------- X
                                                               :
                    In the Matter                              :   Chapter 7
                                                               :   Case No. 21-10699 (DSJ)
                          -of-                                 :
                                                               :
KOSSOFF PLLC,                                                  :
                                                               :
                                                               :
                                            Debtor.            :
                                                               :
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                      NOTICE OF HEARING TO CONSIDER
              CHAPTER 7 INTERIM TRUSTEE’S MOTION FOR AN ORDER
                 COMPELLING JULIA MCNALLY TO COMPLY WITH
                         BANKRUPTCY RULE 2004 ORDER

                 PLEASE TAKE NOTICE that a hearing (the “Hearing”) will be held before

the Honorable David S. Jones, United States Bankruptcy Judge, on October 19, 2021 at

10:00 a.m. (prevailing Eastern Time) in Courtroom 501 of the United States Bankruptcy

Court for the Southern District of New York (the “Court”), One Bowling Green, New

York, New York 10004-1408, or as soon thereafter as counsel can be heard, to consider

the Chapter 7 Interim Trustee’s Motion for an Order Compelling Julia McNally. to Comply with

Bankruptcy Rule 2004 Order (the “Motion”) [Docket No. 185].

                 PLEASE TAKE FURTHER NOTICE that objections, if any, to the Motion

must be made in writing, stating in detail the reasons therefore, and must be filed with

the Clerk of the Court, with paper copies delivered to Judge Jones’ chambers, and
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served upon: (i) Togut, Segal & Segal LLP, counsel for the Trustee, One Penn Plaza,

Suite 3335, New York, New York 10119, Attn.: Neil Berger, Esq.

(neilberger@teamtogut.com) and Minta J. Nester, Esq. (mnester@teamtogut.com);

(ii) Julia McNally, 29-50 170th Street, Flushing, New York 11358; (iii) the Office of the

United States Trustee, Region 2, U.S. Federal Office Building, 201 Varick Street, Suite

1006, New York, New York 10014, Attn.: Andrew D. Velez-Rivera, Esq. (Andy.Velez-

Rivera@usdoj.gov); and (vi) any parties required to be served under any applicable

Bankruptcy Rule or Local Rule, so that they are actually received by the aforementioned

parties not later than 4:00 p.m. on October 12, 2021 (the “Objection Deadline”).

Objections not timely served and filed may not be considered by the Court.

               PLEASE TAKE FURTHER NOTICE that the hearing shall take place

virtually using both audio and videoconferencing solutions as set forth herein. The

Court shall utilize Zoom for Government (for audio and video purposes). The Zoom

link shall be provided by the Court to the list of persons that make an electronic

appearance as Zoom participants in accordance with the instructions below, and to

other attorneys, parties in interest, or members of the public who make an electronic

appearance in accordance with the instructions below. All counsel who participate via

Zoom shall participate in appropriate pre-Hearing testing of Zoom as may be required

by this Court’s personnel.

               PLEASE TAKE FURTHER NOTICE that counsel and affiliates shall make

an electronic appearance through the Court’s website,

https://ecf.nysb.uscourts.gov/cgi-bin/nysbAppearances.pl on or before 4:00 p.m.

prevailing Eastern Time on October 18, 2021. The Court will circulate by email prior to

the Hearing the Zoom link to such persons.

               PLEASE TAKE FURHTER NOTICE that all other attorneys, parties in

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interest, or members of the public who wish to hear or observe the Hearing shall

make an electronic appearance through the Court’s website,

https://ecf.nysb.uscourts.gov/cgi-bin/nysbAppearances.pl on or before 4:00 p.m.

prevailing Eastern Time on October 18, 2021. To avoid multiple appearances at the

Hearing, attorneys, parties in interest, and the public, will join with one device only.

Parties that are speaking will join by video using the “Join ZoomGovMeeting” link in

the Outlook invitation and their computer audio. Parties that are listening and not

speaking may join with their cell phone only. If you are connecting by telephone, you

must provide the Court with the telephone number that will be used to connect and the

first and last names of each person who will connect. The Court will circulate by email

prior to the Hearing the Zoom link to such persons who wish to hear or observe the

Hearing via Zoom.

               PLEASE TAKE FURTHER NOTICE that because of the Court’s security

requirements for participating in a Zoom for Government audio and video hearing, all

persons seeking to attend the Hearing must connect to the Hearing on or before

9:45 a.m. prevailing Eastern Time on October 19, 2021. When signing into Zoom for

Government, participants must type in the first and last name that will be used to

identify them at the Hearing. Participants that type in only their first name, a

nickname, or initials will not be admitted into the hearing. When seeking to connect for

either audio or video participation in a Zoom for Government hearing, you will first

enter a “Waiting Room” in the order in which you seek to connect. Court personnel

will admit each person to the Hearing from the Waiting Room after confirming the

person’s name and relevant information. You may experience a delay in the Waiting

Room before you are admitted to the Hearing.

               PLEASE TAKE FURTHER NOTICE that in addition to the above, Gen.

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Ord. M-543, along with other temporary procedures implemented by the Bankruptcy

Court in connection with the COVID-19 pandemic (including electronic filing

procedures for pro se parties) can be found by visiting www.nysb.uscourts.gov (the

“Bankruptcy Court’s Website”) and clicking on the “Coronavirus COVID-19 Protocol”

banner.


               PLEASE TAKE FURTHER NOTICE that the hearing to consider the

Motion may be adjourned from time to time, without further written notice to any

party.

Dated: New York, New York
       October 4, 2021
                                        Respectfully submitted,

                                        ALBERT TOGUT, not individually but
                                        solely in his capacity as Chapter 7 Interim
                                        Trustee
                                        By His Attorneys,
                                        TOGUT, SEGAL & SEGAL LLP
                                        By:

                                        /s/ Neil Berger
                                        NEIL BERGER
                                        MINTA J. NESTER
                                        BRIAN F. SHAUGNESSY
                                        One Penn Plaza, Suite 3335
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